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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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     ANTONIO CABALLERO,                            Case No.: 2:20-cv-07602-JWH-AGR
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                   Plaintiff,
6
        vs.                                        Order of Disbursement to the United
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                                                             States Marshal
8    FUERZAS ARMADAS
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     REVOLUCIONARIAS DE
     COLOMBIA, et al.,
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                   Defendants,

12      and,
13   JULIO CESAR ALVAREZ
14   MONTELONGO,
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                   Intervenor.
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18            Antonio Caballero (“Caballero”) and Julio Cesar Alvarez Montelongo
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     (“Alvarez”) (collectively referred to as the “Parties”) have advised the Court that
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21   they have resolved their disputes (ECF. ____) and filed a notice of settlement and
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     joint application for disbursement of funds held by the United States Marshal.
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24   Counsel for the Parties have requested that this Court order the U.S. Marshal to
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     disburse all sums that the United States Marshal is holding with regard to this matter

27   in accordance with the Parties’ (redacted) Confidential Settlement Agreement.
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                                      #:2387


1          Upon consideration of the Parties’ notice of settlement and joint application,
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     it is ORDERED that the Parties provide the U.S. Marshal with a copy of the
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4    (redacted) Confidential Settlement Agreement along with wire instructions for the
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     funds to be wired in accordance with the (redacted) Confidential Settlement

7    Agreement. The U.S. Marshal is hereby ORDERED to disburse all funds held in
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     relation to his case in accordance with the terms of the (redacted) Confidential
10   Settlement Agreement.
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           IT IS SO ORDERED.
13     Dated: July ___, 2022               ____________________________
14                                         John W. Holcomb
15                                         UNITED STATES DISTRICT JUDGE
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